Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 1 of 38 Page ID #:20
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 2 of 38 Page ID #:21




   1         1.      The United States of America (the “Government” or “United States”), by
   2 and through their qui tam Relators, John Doe and ABC, LLC (the “Relators” or “Qui
   3 Tam Plaintiffs”), bring this action under the Federal False Claims Act, 31 U.S.C.
   4 §3729-3733, et seq. (the “False Claims Act” or “FCA”) against Insys Therapeutics,
   5 Inc. (“Insys”), Alec Burlakoff (“Burlakoff”), and Michael L. Babich (“Babich”)
   6 (collectively, “Defendants”) to recover all damages, penalties, and other remedies
   7 provided by the False Claims Act on behalf of the United States and the Relators, and
   8 for their complaint allege as follows.
   9         2.      Based on the Relators’ personal knowledge and further investigation,
  10 from at least June 2013 through the present, sufficient evidence, including statements
  11 by the Relators as well as documents and other information they have obtained, exists
  12 to allege that Defendants have violated and continue to violate the False Claims Act,
  13 31 U.S.C. §3729, and the federal Anti-Kickback Statute, 42 U.S.C. §1320a-
  14 7b(b)(2)(B) (the “Anti-Kickback Statute”), by submitting fraudulent bills to the
  15 Government (and/or through its conduct causing others to submit fraudulent bills to
  16 the Government) as a result of off-label marketing and an unlawful kickback scheme
  17 in connection with its drug Subsys that was intended to, and did in fact, induce
  18 physicians to improperly prescribe Subsys.
  19                                        PARTIES
  20         3.      John Doe (“Relator 1”) worked at Insys from June 2013 through August
  21 2013.        Relator 1 was one of Insys’ Specialty Sales Representatives and his
  22 responsibilities included, among other things, assisting in launching Insys’ pain
  23 management drug Subsys, and conducting in-services with physicians, staffs, and
  24 pharmacists.
  25         4.      ABC, LLC is a Delaware Limited Liability Company whose main
  26 address is 800 Delaware Avenue, Wilmington, DE, and which was formed for the
  27 purpose of bringing this action.
  28         5.      Plaintiff United States of America, acting through the Department of

                                               -1-
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 3 of 38 Page ID #:22




   1 Health and Human Services (“HHS”), and its Centers for Medicare and Medicaid
   2 Services (“CMS”), administers the Health Insurance Program for the Aged and
   3 Disabled established by Title XVIII of the Social Security Act, 42 U.S.C. §§1395, et
   4 seq. (“Medicare”).
   5         6.     Defendant Insys is a specialty pharmaceutical company that develops and
   6 commercializes supportive care products. In March 2012, Insys launched Sybsys, a
   7 proprietary sublingual fentanyl spray approved for breakthrough cancer pain in
   8 opioid-tolerant patients.
   9         7.     Defendant Burlakoff is Insys’ Vice President of Sales.
  10         8.     Defendant Babich is Insys’ Chief Executive Officer.
  11                             JURISDICTION AND VENUE
  12         9.     Jurisdiction in this Court is proper pursuant to 31 U.S.C. §§3732(a) and
  13 3730(b). This Court also has jurisdiction pursuant to 28 U.S.C. §1331.
  14         10.    The Court may exercise personal jurisdiction over the Defendants, and
  15 venue is proper in this Court pursuant to 31 U.S.C. §3732(a) and 28 U.S.C. §1391
  16 because the acts proscribed by 31 U.S.C. §§3729 et seq., and complained of herein
  17 took place in part in this District and the Defendants transacted business in this
  18 District as described herein.
  19         11.    Pursuant to 31 U.S.C. §3730(b)(2), Relators prepared and will serve the
  20 complaint on the Attorney General of the United States, and the United States
  21 Attorney for the Central District for the District of California, as well as a statement of
  22 all material evidence and information currently in its possession and of which it is the
  23 original source. These disclosure statements are supported by material evidence
  24 known to the Relators at the time of filing establishing the existence of Defendants’
  25 false claims. Because the statements include attorney-client communications and
  26 work product of Relators’ attorneys, and will be submitted to those federal officials in
  27 their capacity as potential co-counsel in the litigation, Relators understand these
  28 disclosures to be confidential and exempt from disclosure under the Freedom of

                                                 -2-
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 4 of 38 Page ID #:23




   1 Information Act. 5 U.S.C. §552; 31 U.S.C. §3729(c).
   2                             LEGAL BACKGROUND
   3 The False Claims Act
   4        12.   The False Claims Act provides, in pertinent part:
   5              (a)   Liability for Certain Acts.
   6              (1) In general. – Subject to paragraph (2), any person who –
   7                    (A) knowingly presents, or causes to be presented, a false
   8                    or fraudulent claim for payment or approval;
   9                    (B) knowingly makes, uses, or causes to be made or used, a
  10                    false record or statement material to a false or fraudulent
  11                    claim;
  12                    (C) conspires to commit a violation of subparagraph (A),
  13                    (B), (D), (E), (F), or (G);
  14                    (D) has possession, custody, or control of property or
  15                    money used, or to be used, by the Government and
  16                    knowingly delivers, or causes to be delivered, less than all
  17                    of that money or property;
  18                    (E) is authorized to make or deliver a document certifying
  19                    receipt of property used, or to be used, by the Government
  20                    and, intending to defraud the Government, makes or
  21                    delivers the receipt without completely knowing that the
  22                    information on the receipt is true;
  23                    (F) knowingly buys, or receives as a pledge of an obligation
  24                    or debt, public property from an officer or employee of the
  25                    Government, or a member of the Armed Forces, who
  26                    lawfully may not sell or pledge property; or
  27                    (G) knowingly makes, uses, or causes to be made or used, a
  28                    false record or statement material to an obligation to pay or

                                              -3-
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 5 of 38 Page ID #:24




   1                    transmit money or property to the Government, or
   2                    knowingly conceals or knowingly and improperly avoids or
   3                    decreases an obligation to pay or transmit money or
   4                    property to the Government, is liable to the United States
   5                    Government for a civil penalty of not less than $5,000 and
   6                    not more than $10,000, as adjusted by the Federal Civil
   7                    Penalties Inflation Adjustment Act of 1990 (28 U.S.C.
   8                    §2461 (notes); Public Law 104-410), plus 3 times the
   9                    amount of damages which the Government sustains
  10                    because of the act of that person.
  11              (3) Costs of civil actions. – A person violating this subsection
  12        shall also be liable to the United States Government for the costs of a
  13        civil action brought to recover any such penalty or damages.
  14                    (b) Definitions. – For purposes of this section –
  15                           (1) the terms “knowing” and “knowingly” –
  16                    (A) mean that a person, with respect to information –
  17                           (i) has actual knowledge of the information;
  18                           (ii) acts in deliberate ignorance of the truth or falsity
  19                           of the information; or
  20                           (iii) acts in reckless disregard of the truth or falsity
  21                           of the information; and
  22                    (B) require no proof of specific intent to defraud;
  23              (2) the term “claim” –
  24                    (A) means any request or demand, whether under a contract
  25                    or otherwise, for money or property and whether or not the
  26                    United States has title to the money or property, that—
  27                           (i) is presented to an officer, employee, or agent of
  28                           the United States; or

                                              -4-
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 6 of 38 Page ID #:25




   1                             (ii) is made to a contractor, grantee, or other
   2                             recipient, if the money or property is to be spent or
   3                             used on the Government’s behalf or to advance a
   4                             Government program or interest, and if the United
   5                             States Government –
   6                                    (I) provides or has provided any portion of the
   7                                    money or property requested or demanded; or
   8                                    (II) will reimburse such contractor, grantee, or
   9                                    other recipient for any portion of the money or
  10                                    property which is requested or demanded; and
  11                       (B) does not include requests or demands for money or
  12                       property that the Government has paid to an individual as
  13                       compensation for Federal employment or as an income
  14                       subsidy with no restrictions on that individual’s use of the
  15                       money or property;
  16              (3) the term “obligation” means an established duty, whether or
  17        not fixed, arising from an express or implied contractual, grantor-
  18        grantee, or licensor-licensee relationship, from a fee-based or similar
  19        relationship, from statute or regulation, or from the retention of any
  20        overpayment; and
  21              (4) the term “material” means having a natural tendency to
  22        influence, or be capable of influencing, the payment or receipt of money
  23        or property.
  24        13.   Pursuant to the Federal Civil Penalties Inflation Adjustment Act of 1990,
  25 as amended by the Debt Collection Improvement Act of 1996, 28 U.S.C. §2461
  26 (notes), and 28 C.F.R. §85.1, False Claims Act civil penalties were increased from
  27 $5,000 to $11,000 for violations occurring on or after September 29, 1999.
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                                                -5-
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 7 of 38 Page ID #:26




   1 The Anti-Kickback Statute
   2          14.    The Anti-Kickback Statute, 42 U.S.C. §1320a-7b(b)(2)(B), prohibits
   3 offering to pay or paying any remuneration1 “to any person to induce such person to
   4 purchase . . . any good . . . service, or item for which payment may be made in whole
   5 or in part under a Federal healthcare program.” Id. Pursuant to the Anti-Kickback
   6 Statute, it is unlawful to knowingly offer or pay any remuneration in cash or in kind in
   7 exchange for the referral of any product (including a prescription drug product) for
   8 which payment is sought from any federally-funded health care program, including
   9 Medicare and Medicaid. In order to ensure compliance, every federally-funded health
  10 care program requires every provider or supplier to ensure compliance with the
  11 provisions of the Anti-Kickback Statute and other federal laws governing the
  12 provision of health care services in the United States.
  13          15.    The Anti-Kickback Statute is designed to, inter alia, ensure that patient
  14 care will not be improperly influenced by inappropriate compensation from the
  15 pharmaceutical industry. Kickbacks increase Government-funded health benefit
  16 program expenses by inducing medically unnecessary overutilization of prescription
  17 drugs and excessive reimbursements. Kickbacks also reduce a patient’s healthcare
  18 choices, as physicians may prescribe drug products based on the physician’s own
  19 financial interests rather than according to the patient’s medical needs.
  20          16.    In accordance with the Anti-Kickback Statute, applicable regulations
  21 directly prohibit providers from receiving remuneration paid with the intent to induce
  22 referrals or business orders, including the prescription of pharmaceuticals paid as a
  23 result of the volume or value of any referrals or business generated. See 42 C.F.R.
  24 §1001.952(f). Thus, drug companies may not offer or pay any remuneration, in cash
  25 or kind, directly or indirectly, to induce physicians or others to order or recommend
  26 drugs that may be paid for by a federal health care program. The law not only
  27   1
          The term “any remuneration” encompasses any kickback, bribe, or rebate, direct or indirect,
       overt or covert, in cash or in kind. Anti-Kickback Statute, 42 U.S.C. §1320a-7b(b)(1).
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                                                   -6-
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 8 of 38 Page ID #:27




   1 prohibits outright bribes and rebate schemes, but also prohibits any payment by a drug
   2 company that has as one of its purposes inducement of a physician to write additional
   3 prescriptions for the company’s pharmaceutical products. Such remunerations are
   4 kickbacks when paid to induce or reward physicians’ prescriptions.
   5         17.    A violation of the Anti-Kickback Statute constitutes a felony punishable
   6 by a maximum fine of $25,000, imprisonment up to five years, or both. Any party
   7 convicted under the Anti-Kickback Statute must be excluded from federal health care
   8 programs for a term of at least five years. 42 U.S.C. §1320a-7(b).
   9         18.    Compliance with the Anti-Kickback Statute is required for
  10 reimbursement of claims from federal health care programs, and claims made in
  11 violation of the law are actionable civilly under the FCA. See 42 U.S.C. §1320a-7b(g)
  12 (2010) (stating, in part, that a “claim that includes items or services resulting from a
  13 violation of . . . [the Anti-Kickback Statute] constitutes a false or fraudulent claim for
  14 purposes of [the FCA]. . . .”); United States ex rel. Wilkins v. United Health Group,
  15 Inc., 659 F.3d 295 (3d Cir. 2011). The Anti-Kickback Statute was amended in March
  16 2010 as part of the Patient Protection and Affordable Care Act (“PPACA”), which
  17 clarified that all claims resulting from a violation of the Anti-Kickback Statute are
  18 also a violation of the FCA. 42 U.S.C. §1320a-7(b)(g). The PPACA also amended the
  19 Social Security Act’s “intent requirement” to make clear that violations of its anti-
  20 kickback provisions, like violations of the FCA, may occur even if an individual does
  21 “not have actual knowledge” or “specific intent to commit a violation.” Public Law
  22 No. 111-148, §6402(h).
  23         19.    The Office of the Inspector General of the Department of Health and
  24 Human Services (“HHS-OIG”), in April 2003, issued its Compliance Program
  25 Guidance for Pharmaceutical Manufacturers, a document meant to provide an
  26 overview of pharmaceutical manufacturer compliance guidelines. HHS-OIG has
  27 stated that any time “a pharmaceutical manufacturer provides anything of value to a
  28 physician who might prescribe the manufacturer’s product, the manufacturer should

                                                -7-
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 9 of 38 Page ID #:28




   1 examine whether it is providing a tangible benefit to the physician with the intent to
   2 induce or regard referrals.” HHS-OIG Guidance to Pharmaceutical Manufacturers,
   3 April 2003, p. 28 (emphasis added).2
   4         20.    Compliance with the Anti-Kickback Statute is a condition of payment
   5 under federal health care programs. Therefore any violation of the Anti-Kickback
   6 Statute is a violation of the False Claims Act because claims seeking payment for
   7 services or prescriptions tainted by kickbacks are “factually false,” and therefore do
   8 not meet the conditions of payment from federal health care programs.
   9 The Stark Law
  10         21.    The Stark Law, 42 U.S.C. §1395nn, et seq., prohibits a pharmaceutical
  11 manufacturer from paying remuneration to physicians for referring Medicaid and/or
  12 Medicare patients to the manufacturer for certain “designated health services,”
  13 including drug prescriptions, where the referring physician has a nonexempt “financial
  14 relationship” with that manufacturer. 42 U.S.C. §1395nn(a)(1), (h)(6). The Stark Law
  15 provides that the manufacturer shall not cause to be presented a Medicare or Medicaid
  16 claim for such prescriptions. The Stark Law also prohibits payment of claims for
  17 prescriptions rendered in violation of its provisions. 42 U.S.C. §1395nn(a)(1), (g)(1).
  18         22.    Knowingly paying physicians to induce them to prescribe a prescription
  19 drug on-label or off-label for individuals seeking reimbursement for the drug from a
  20 federal health program or causing others to do so, while certifying compliance with
  21 the Stark Law (or while causing another to so certify), or billing the Government as if
  22 in compliance with these laws, violates the FCA.
  23                             FACTUAL BACKGROUND
  24 I.      Overview of Medicare and its Benefits
  25         23.    Medicare is a federal health insurance system for people 65 and older and
  26 for people under 65 with certain disabilities.
  27   2
           HHS-OIG Guidance to Pharmaceutical Manufacturers, April 2003, p. 28, available at
       http://oig.hhs.gov/fraud/docs/complianceguidance/042803pharmacymfgnonfr.pdf.
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                                               -8-
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 10 of 38 Page ID #:29




    1        24.    Medicare Part D began January 1, 2006 and pays for prescription drug
    2 benefits for the elderly and disabled. 42 U.S.C. §1395w-101 et seq. All persons
    3 enrolled in Medicare Part A and/or Medicare Part B are eligible to enroll in a
    4 prescription drug plan under Part D. HHS, through its component agency, CMS,
    5 contracts with private companies (or “sponsors”) authorized to sell Part D insurance
    6 coverage. Such companies are regulated and subsidized by CMS pursuant to one-
    7 year, annually renewable contracts.
    8        25.    Medicare Part D requires all participants in the program – prescription
    9 drug plan (“PDP”) sponsors, Pharmacy Benefit Managers (“PBM”), and pharmacies –
   10 to adhere to all federal laws and regulations, including those designed to prevent
   11 fraud, waste, and abuse. 42 C.F.R. §423.505(h)(1). Under CMS regulations, PDP
   12 sponsors’ subcontracts with PBMs and pharmacies must contain language obligating
   13 the pharmacy to comply with all applicable federal laws, regulations, and CMS
   14 instructions. 42 C.F.R. §423.505(i)(3)(v).
   15        26.    The federal Government’s target is to pay 74.5% of the actual costs of
   16 basic prescription drug coverage (as defined at 42 U.S.C. §1395w-1029(a)(3)). 42
   17 U.S.C. §1395w-115(a).        Rather than a straight reimbursement, however, the
   18 Government uses economic incentives and disincentives to encourage both
   19 beneficiaries and Part D Plan Sponsors to reduce costs. 42 U.S.C. §1395w-115.
   20        27.    For beneficiaries, the disincentives for running-up high drug expenditures
   21 include requiring them to pay certain amounts out-of-pocket (in the aggregate referred
   22 to as a beneficiary’s True Out-Of-Pocket (“TrOOP”)). Those sums include:
   23               (a)   a beneficiary premium equal to 25.5% of the national weighted
   24 average plan bid, as adjusted (approximately $350), 42 U.S.C. §1395w-113(a);
   25               (b)   a deductible defined as 100% of the first $250, as adjusted
   26 (although 90% of Part D Plans eliminate the deductible and use a tiered co-pay), 42
   27 U.S.C. §1395w-102(b)(1);
   28               (c)   thereafter a 25% copay on all costs up to the coverage gap, 42

                                                -9-
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 11 of 38 Page ID #:30




    1 U.S.C. §1395w-102(b)(2);
    2                (d)   100% of costs between $2,250 and $3,600, as adjusted, 42 U.S.C.
    3 §1395w-102(b)(3) & (4) (the “coverage gap” or “donut hole”);
    4                (e)   whereafter, the beneficiary enters the catastrophic coverage phase
    5 and only pays a copay of 5%, or $2 for a generic drug and $5 for any other drug. 42
    6 U.S.C. §1395w-102(b)(4)(A)(i).
    7         28.    Since beneficiaries are required to pay a significant copay, and 100% of
    8 the cost of drugs while they are in the deductible and coverage gap phases of the
    9 program, Medicare Part D provides certain protections to beneficiaries. For example,
   10 Sponsors must make the negotiated prices available to beneficiaries regardless of what
   11 “phase” of the Part D benefit an enrollee is in (i.e., deductible, ordinary coverage,
   12 coverage gap or catastrophic coverage). In addition, that negotiated price must also
   13 remain uniform within a particular pharmacy regardless of what phase of the program
   14 the beneficiary is in. Prescription Drug Benefit Manual, Ch. 5 “Benefits and
   15 Beneficiary Protections,” §20.6 (“the negotiated price for a particular covered Part D
   16 drug purchased at a particular pharmacy must always be the same regardless of what
   17 phase of the Part D benefit an enrollee is in”).
   18         29.    Another beneficiary protection is that, while they are in the deductible or
   19 coverage gap phases where they pay 100% of the costs, they may avail themselves of
   20 a cash price that is better than their PDP’s negotiated price if the pharmacy is offering
   21 a “‘special’ price or other discount for all customers, or if the beneficiary is using a
   22 discount card.” Prescription Drug Benefit Manual, Ch. 14 “Coordination of Benefits,”
   23 at 50.4.2. If the beneficiary makes such a purchase outside of their plan, their
   24 expenditure will still count toward their TrOOP if they report it to their plan. Id.
   25         30.    For Part D Plan Sponsors, the program is a quasi-free market model that
   26 uses a variety of incentives which are part of the structure of the program. The
   27 starting point is that the program only pays the Sponsor “interim payments . . . based
   28 on the Secretary’s best estimate of amounts that will be payable after obtaining all of

                                                - 10 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 12 of 38 Page ID #:31




    1 the information.” 42 U.S.C. §1395w-115(d)(1). In other words, Medicare Part D is
    2 not a capitated federal insurance program, but rather an actual cost program. Id.; see
    3 42 U.S.C. §1395w-112(g) (prohibiting states from imposing premium taxes on Part D
    4 subsidy since, unlike Part C, the payments are not capitated premiums); compare to 42
    5 U.S.C. §1395w-114(c)(2) (expressly authorizing capitated payment only for those Part
    6 D beneficiaries in the lowest income tier who qualify for greater subsidy).
    7         31.   In a nutshell, the Sponsor submits a bid based on actuarial data estimating
    8 the actual cost of providing prescription drugs to its pool of beneficiaries. The
    9 Government then makes “interim payments” to the Sponsor on a monthly basis. As
   10 an express condition of receiving those interim payments, the Sponsor is required to
   11 submit to the Government truthful and complete data, including actual cost, for every
   12 prescription filled. At the end of each year the Government then compares its interim
   13 payments to the actual cost data, and determines whether the Sponsor owes a refund to
   14 the Government, or whether the Government is required to pay more money in order
   15 to meet its subsidy target. In order to further incentivize the Sponsor to keep costs
   16 down, however, the refund or additional payment is first subject to risk corridors
   17 which penalize the Sponsor if actual costs exceed its bid, and reward the Sponsor if
   18 actual costs are below its bid. 42 U.S.C. §1395w-115(e). As a practical matter, these
   19 risk corridors would only slightly increase or decrease the total percentage paid by the
   20 Government for each prescription.
   21 II.     Medicaid
   22         32.   Medicaid is a joint federal-state program created in 1965 that provides
   23 health care benefits for certain groups, primarily the poor and disabled. The federal
   24 portion of each state’s Medicaid payments, known as the Federal Medical Assistance
   25 Percentage (“FMAP”), is based on the state’s per capita income compared to the
   26 national average. 42 U.S.C. §1396d(b). Among the states, the FMAP is at least 50
   27 percent and is as high as 83%.
   28         33.   The Medicaid program pays for services pursuant to plans developed by

                                               - 11 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 13 of 38 Page ID #:32




    1 the states and approved by the HHS Secretary through CMS. 42 U.S.C. §1396a(a)-(b).
    2 States pay doctors, hospitals, pharmacies, and other providers and suppliers of medical
    3 items and services according to established rates. 42 U.S.C. §§1396b(a)(1),
    4 1903(a)(1). The federal Government then pays each state a statutorily-established
    5 share of “the total amount expended . . . as medical assistance under the State plan
    6   . . .” See 42. U.S.C. §1396b(a)(1). This federal-to-state payment is known as federal
    7 financial participation (“FFP”).
    8        34.    The Medicaid programs of all states reimburse for prescription drugs.
    9 The vast majority of states award contracts to private companies to evaluate and
   10 process claims for payment on behalf of Medicaid recipients. Typically, after
   11 processing the claims, these private companies then generate funding requests to the
   12 state Medicaid programs. Before the beginning of each calendar quarter, each state
   13 submits to CMS an estimate of its Medicaid federal funding needs for the quarter.
   14 CMS reviews and adjusts the quarterly estimate as necessary, and determines the
   15 amount of federal funding each state will be permitted to draw down as it incurs
   16 expenditures during the quarter. The state then draws down federal funding as actual
   17 provider claims, including claims from pharmacies seeking payment for drugs, are
   18 presented for payment. After the end of each quarter, the state then submits to CMS a
   19 final expenditure report, which provides the basis for adjustment to the quarterly
   20 federal funding amount (to reconcile the estimated expenditures to actual
   21 expenditures). 42 C.F.R. §430.30.
   22 III.   The United States Food, Drug, and Cosmetic Act
   23        35.    The FDA regulates drugs based on the “intended uses” for such products.
   24 Before marketing and selling a prescription drug, a manufacturer must demonstrate to
   25 the FDA that the product is safe and effective for each intended use. 21 U.S.C.
   26 §§331(d), 355(a).
   27        36.    The United States Food, Drug and Cosmetic Act (“FDCA”) establishes
   28 the framework for regulation of, inter alia, the sales and marketing activities of

                                               - 12 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 14 of 38 Page ID #:33




    1 pharmaceutical manufacturers in the United States, including the introduction of new
    2 drugs into interstate commerce.            When the United States Food and Drug
    3 Administration (“FDA”) approves a drug, it approves the drug only for the particular
    4 use for which it was tested. While a physician may prescribe a drug for a use other
    5 than the one for which it is approved, the FDCA prohibits a drug manufacturer from
    6 marketing or promoting a drug for non-approved uses. 21 U.S.C. §§331(d), 355(a). It
    7 therefore is illegal for a drug manufacturer and its sales representatives to initiate
    8 discussions with medical professionals regarding any off-label use of a drug.
    9 IV.      Insys’ Fraudulent Scheme
   10          A.     False Claims Act Violations
   11          37.    Defendants have, since at least June 2013, engaged in off-label marking
   12 and an unlawful kickback scheme in connection with its drug Subsys that was
   13 intended to, and did in fact, induce physicians to improperly prescribe Subsys. These
   14 prescriptions were reimbursed by federal health care programs, including Medicare
   15 and Medicaid, and therefore were issued in violation of both the Anti-Kickback
   16 Statute and the FCA. As a result, the federal Government has been defrauded and
   17 suffered a substantial loss.
   18          38.    To provide some background, Subsys is a potent opioid analgesic,
   19 fentanyl, intended for application to the sublingual mucosa. Subsys is only indicated
   20 for the “management of breakthrough pain in cancer patients 18 years of age and older
   21 who are already receiving and who are tolerant to opioid therapy for their
   22 underlying persistent cancer pain.”3 See Ex. 1 (Subsys packaging insert).4 Patients
   23
        3
            Subsys            Prescribing            Information,            available            at
   24 http://subsysspray.com/assets/subsys/client_files/files/PrescribingInfo.pdf.
   25 4 The Subsys packaging insert contains the Medication Guide and the Highlights of Prescribing
        Information. The attached exhibit contains both documents. Both documents are from the FDA’s
   26 website. Relator 1 does have the original packaging insert, if needed. The Medication Guide is
      available at http://www.accessdata.fda.gov/drugsatfda_docs/label/2012/202788s000mg.pdf. The
   27 Highlights          of      Prescribing        Information         is       available       at
        http://www.accessdata.fda.gov/drugsatfda_docs/label/2012/202788s000lbl.pdf.
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                                                   - 13 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 15 of 38 Page ID #:34




    1 must remain on around-the-clock opioids when taking Subsys. Id. Subsys has an
    2 initial dose of 100 mcg and is dosed in single use spray bottles.
    3                 1.      Insys Marketed Subsys for Off-Label Use
    4          39.    As discussed in more detail below, Insys actively marketed the off-label
    5 use of its drug Subsys, in violation of the FDCA, the Anti-Kickback Statute, the Stark
    6 Law, and the FCA. See United States v. King-Vassel, 728 F.3d 707, 709-10 (7th Cir.
    7 2013) (“Under the applicable interlocking provisions of the False Claims Act and laws
    8 governing Medicaid, the federal Government generally will not pay for medications
    9 prescribed for purposes not approved by the FDA.”). Insys facilitated its fraud
   10 through its sales representatives as well as by offering free services to prescribing
   11 physicians to ensure that their prescriptions cleared the Government’s prior
   12 authorization process.
   13                         a.     Insys Trained Its Sales Representatives to
                                     Market Insys for Off-Label Use
   14
               40.    Insys trained its sales representatives to promote Subsys to physicians for
   15
        off-label use. Despite Subsys’ indication, which provides, among other things, that it
   16
        is only for use on cancer patients that are tolerant to other opioids, Insys instructed its
   17
        sales representatives to “generate market share” for Subsys by targeting and marketing
   18
        Subsys to physicians whose patients did not have cancer, much less those that were
   19
        opioid-tolerant.
   20
               41.    Sales representatives were the core of Insys’ off-label marketing scheme.
   21
        According to Relator 1, Insys and its most senior executives (who directly took part in
   22
        training Relator 1 to sell Subsys) did everything they could to ensure that Subsys was
   23
        marketed and sold off-label. In fact, Defendants’ scheme was so blatant that Relator 1
   24
        – throughout the entirety of his employment – never saw any intent or steps taken by
   25
        Insys senior management to do anything other than market the drug for off-label use.5
   26
   27   5
         Even before Relator 1 began his employment, the intent of Insys senior management to promote
      Subsys off-label was apparent. For example, prior to joining Insys, Relator 1 had no prior
   28 experience in pharmaceutical sales. When Burlakoff called Relator 1 to offer him the position with

                                                    - 14 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 16 of 38 Page ID #:35




    1 Indeed, the only time Insys senior management purported to demonstrate even the
    2 vaguest concern for compliance with the laws prohibiting off-label promotion was
    3 during brief, pro-forma, recitations that sales representatives should comply with the
    4 law. Of course, at the same time, Defendants did everything they could to make sure
    5 sales representatives were trained to do the exact opposite.
    6          42.     For example, Insys’ training program for sales representatives was
    7 designed solely to promote Subsys’ off-label use to prescribing physicians. First,
    8 Insys instructed its sales representatives to avoid marketing to oncologists and instead
    9 market to pain management specialists, even though they do not treat cancer patients.
   10 According to Relator 1, Insys instructs its sales representatives to avoid working with
   11 oncologists because they do not “treat pain,” and therefore targeting them would be
   12 far less profitable.6 Rather, Insys told sales representatives to market Subsys to pain
   13 management specialists because they would be more likely to prescribe the drug, and
   14 to do so in volume.             Insys’ instructions were strictly followed by its sales
   15 representatives.        According to Relator 1, in almost every instance, the pain
   16 management specialists targeted by Insys’ sales representatives had no patients with
   17 cancer. Indeed, during the course of Relator 1’s employment with Insys – during
   18 which he spoke to countless physicians who prescribed Subsys – he never once dealt
   19 with a pain management physician that had any patients with cancer.
   20          43.     Insys’ express focus on pain management physicians that do not treat
   21 cancer patients represents a prima facia case of illegal off-label marketing. Because
   22 Insys, he stated that the fact that Relator 1 had no prior experience in the pharmaceutical sales
      industry would allow him to be molded into someone who could “go off-label” much easier.
   23
        6
            During his employment with Insys, Relator 1 informed management that his good friend in
   24 Buffalo, NY is the Clinical Director of CCS Oncology, a large cancer treatment center treating all
      stages of cancer. According to Relator 1, marketing Subsys to his friend would have produced at
   25 least twenty new Subsys “writers,” resulting in an expanded market share for Subsys’ indicated use.
        Insys management, however, rejected Relator 1’s proposition, and instructed him to concentrate on
   26 promoting Subsys to physicians that do not treat cancer patients. Upon information and belief, Insys
      did not want Relator 1 marketing Subsys to his friend, despite the fact that this would have produced
   27 several new Subsys writers for its actual indication, because Insys believed Relator 1’s time was
        better spent furthering its off-label marketing scheme.
   28

                                                      - 15 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 17 of 38 Page ID #:36




    1 Subsys is approved only for use on cancer patients with an opioid tolerance, the direct
    2 targeting and marketing to doctors that have no cancer patients (and the corresponding
    3 instruction not to market to oncologists) can be nothing else.
    4          44.     Similarly, Insys repeatedly drilled into its sales representatives the mantra
    5 that their main objective was to “generate market share.” According to Relator 1,
    6 Insys trained its sales representatives to generate market share by convincing as many
    7 physicians as possible to write prescriptions for Subsys, regardless of their patients’
    8 conditions. As a result of its narrow indication, Subsys has a very limited potential
    9 customer base. Therefore, by training its sales representatives to target physicians that
   10 do not treat cancer patients and promote Subsys for off-label use, Insys sought to
   11 generate a larger market share for Subsys than would otherwise be attainable. That is,
   12 by enlarging its potential customer base through off-label promotion, Insys also
   13 enlarged the market for Subsys beyond the very limited pool of patients with
   14 conditions consistent with Subsys’ indication, thereby allowing it to capture a greater
   15 market share.
   16          45.     To establish the foregoing, Insys provided its sales representatives with a
   17 scripted sales pitch as well as sample questions and answers to use when working with
   18 physicians. These scripts were designed to steer physicians into prescribing Subsys
   19 off-label. Sales representatives practiced their sales pitch in role play training
   20 exercises simulating physician interaction with the most senior of Insys management,
   21 Insys Vice President of Sales Burlakoff and Chief Executive Officer Babich.7
   22          46.     The scripted sales pitch – given to pain management specialists – in
   23 relevant part, goes as follows:
   24          Sales Representative: “I know your time is money, so I’m not looking to
   25          waste it. I’ve been directed to deal with a specialist. We have a
   26
        7
            According to Relator 1, Babich regularly attended training sessions where the techniques
   27 described herein were covered. In addition, according to Relator 1, Babich personally participated in
      the role play exercises.
   28

                                                      - 16 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 18 of 38 Page ID #:37




    1          boutique drug that deals with your specialty, pain management. It is my
    2          understanding that the procedure in treating pain is to establish a
    3          baseline?”
    4          Physician: “Yes.”
    5          Sales Representative: “With that being said, what percentage of your
    6          patients have chronic pain?”
    7          Physician: “60%”
    8          Sales Representative: “This is good. My drug is looking for opioid
    9          tolerant patients. What percentage of your patients are experiencing
   10          breakthrough pain four times a day and are on other therapy?”
   11          Physician: “A few”
   12          Sales Representative: “These are the patients my drug wants to address.
   13          Oh, and there’s a bonus: we’ll take care of the managed care aspects of
   14          your patients [through our Internal Reimbursement Center]. If you’re
   15          willing, I would like to go in greater detail over dinner.”
   16          47.     Significantly, the scripted sales pitch never once mentioned that Subsys
   17 was approved only for opioid-tolerant patients with cancer. In fact, according to
   18 Relator 1, the only instance where the word “cancer” was actually used during the role
   19 play exercises occurred while he was being trained to respond to a physician asking
   20 whether Subsys could be prescribed for patients without cancer (discussed below).8
   21 And even in such an instance, the word cancer was only uttered for the purpose of
   22 training sales representatives to promote Subsys for off-label purposes through
   23 allegory.
   24
        8
            Although well-trained to persuade physicians into prescribing Subsy for off-label use, the sales
   25 representatives were not always successful. For example, on one occasion, Relator 1 visited a
      physician on Route 73 to market Subsys. The physician, however, demanded Relator 1 leave his
   26 office because he was not an oncologist. Rather, the physician’s specialty was pain management,
        and he believed that fentanyl was too dangerous for his patients. Moreover, according to Relator 1,
   27 this physician actually fired one or two of his staff because they were prescribing fentanyl products
      against his wishes.
   28

                                                      - 17 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 19 of 38 Page ID #:38




    1           48.     That is, as part of the role playing exercises, Insys trained its sales
    2 representatives to address the concerns of physicians over prescribing Subsys off-
    3 label. In addressing these concerns, sales representatives were instructed to avoid
    4 explicitly stating that the physician should prescribe Subsys for unapproved purposes.
    5 Instead, sales representatives were instructed to speak “in code” and to use allegory to
    6 communicate the same message. For example, if a physician expressed reservations
    7 about prescribing Subsys for patients without cancer, sales representatives were
    8 instructed to ask:
    9           Sales Representative: “Do you remember 1991? When Duragesic came
                out?”
   10
                Physician: “Yes.”
   11
                Sales Representative: “What was that?”
   12
                Physician: “A fentanyl patch.”
   13
                Sales Representative: “And it was approved for use only in cancer
   14           patients, wasn’t it?”
   15           Physician: “Yes.”
   16           Sales Representative: “Exactly.”9
   17           Sales Representative: “How about this? Are you writing prescriptions
                for those patients for Fentora or Actiq?”
   18
                Physician: “Yes.”
   19
                Sales Representative: “Great, our drug has the same indication as
   20           those.”10
   21
        9
             “Exactly,” of course, meaning that everyone knew that Duragesic was prescribed off-label for a
   22 host of uses. In addition, during training, Burlakoff stated about the Durgesic patch “it’s the same
      molecule as Subsys, [it] just [has a] different delivery method.”
   23
        10
             Again, according to Relator 1, this was the “code” they were supposed to use to encourage
   24 physicians to write Subsys for off-label use. The goal was to convince physicians – without
      expressly saying to write Subsys off-label – that they should do so in the same way that many
   25 physicians prescribed Fentora and Actiq for off-label use. According to the Food and Drug
        Administration’s website, off-label prescribing of Fentora and Actiq is not uncommon. Overview of
   26 the May 6, 2008 ALSDAC Meeting to Discuss Supplement 005 to NDA 21-947 for an Expanded
      Indication for Fentora for Use in Break-Through Pain in Patients with Chronic Pain Not Caused by
   27 Malignancy (Apr. 26, 2008), available at http://www.fda.gov/ohrms/dockets/ac/08/briefing/2008-
        4356b2-01-fda.pdf.
   28

                                                      - 18 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 20 of 38 Page ID #:39




    1         49.    Insys was well-aware that its marketing practices for Subsys violated the
    2 prohibition on off-label marketing. In order to conceal its fraudulent marketing
    3 practices, sales representatives were explicitly instructed not to email or text because
    4 management did not want internal discussion about the drug’s marketing practices or
    5 the Internal Reimbursement Center (“IRC”) (discussed below) written down. Rather,
    6 all communications had to first go to the sales representatives’ Regional Sales
    7 Manager (“RSM”), who would then speak directly with Burlakoff.
    8                      b.     Insys Used and Marketed its IRC to Promote
                                  Subsys Off-Label Use
    9
              50.    Insys also created its IRC to promote Subsys for off-label use to
   10
        physicians. The IRC ostensibly exists to assist physicians with obtaining prior
   11
        authorization for Subsys prescriptions from their patients’ insurers and
   12
        Medicare/Medicaid. In reality, however, the IRC existed to make it easier for
   13
        physicians to prescribe Subsys for off-label use by virtually guaranteeing that Subsys
   14
        prescriptions for patients without cancer would receive authorization. Moreover, if
   15
        the IRC could not immediately obtain authorization for a patient’s Subsys
   16
        prescription, Insys guaranteed to provide free Subsys to the patient until it could
   17
        obtain approval. All of the services just mentioned are provided by Insys as part of a
   18
        marketing ploy to encourage physicians to prescribe Subsys for off-label use by
   19
        addressing the concerns of physicians writing these prescriptions.
   20
              51.    To provide some background, prior authorization is a feature provided by
   21
        insurers and Medicare/Medicaid to ensure that certain drugs are prescribed
   22
        appropriately. Prior authorization helps to ensure that these drugs are used correctly
   23
        and only when necessary. In other words, insurers and Medicare/Medicaid require
   24
        prior authorizations to prevent improper prescribing or use of certain drugs that may
   25
        not be the best choice for a particular health condition. When a patient brings a
   26
        prescription which requires prior authorization to the pharmacy to be filled, the
   27
        pharmacist is notified that prior authorization is required. The pharmacist will then
   28

                                                - 19 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 21 of 38 Page ID #:40




    1 contact the patient’s physician, who contacts the insurer to submit additional
    2 information, typically in the form of a letter of medical necessity (“LMN”) for the
    3 prescription. The insurer will then either grant authorization, and pay for the
    4 prescription, or deny authorization, in which case the physician can either appeal the
    5 insurer’s decision or prescribe a different medication. Typically, when a patient is
    6 prescribed a medication for its indicated use, obtaining prior authorization is relatively
    7 simple. When a physician prescribes a medication for off-label use, however,
    8 obtaining prior authorization can be much more difficult.
    9           52.     The IRC is utilized by Insys as a marketing ploy to encourage physicians
   10 to prescribe Subsys for off-label purposes. Although Insys purportedly used the IRC
   11 to assist physicians in obtaining prior authorization for Subsys prescriptions, in reality,
   12 the IRC existed to assist physicians writing off-label Subsys prescriptions. This is
   13 demonstrated by the two main incentives the IRC provides to physicians: (1) the IRC
   14 guaranteed that patients without cancer would obtain prior authorization for Subsys
   15 prescriptions that should have been denied (or Insys would provide the drug, itself, for
   16 free); and (2) the IRC relieved physicians from having to perform the administrative
   17 responsibilities associated with obtaining prior authorization for Subsys prescriptions.
   18           53.     First, by guaranteeing prior authorization for Subsys prescriptions, the
   19 IRC was able to significantly mitigate a major concern of physicians considering
   20 prescribing Subsys off-label. According to Relator 1, Insys instructed its sales
   21 representatives that their ultimate goal was to convince physicians to opt-in to the
   22 IRC program. In order to opt-in, a physician would fill out an IRC request form.11
   23 The IRC request form incorporated a prescriptions box, which the physician would fill
   24 out with the patient information, and then send it to the IRC. Then, the IRC would use
   25 that form and obtain authorization for the Subsys prescription from the patient’s
   26 insurer or Medicare/Medicaid. According to Relator 1, Insys instructed IRC staff
   27
        11
             Attached as Ex. 2 is a copy of the IRC request form.
   28

                                                      - 20 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 22 of 38 Page ID #:41




    1 handling IRC requests to obtain approval for a 800 mcg/dose, despite the fact that
    2 physicians typically wrote prescriptions for 100 mcg/dose, Subsys’ initial dosage. By
    3 doing this, IRC would not have to go back to obtain approvals for subsequent
    4 prescriptions. The IRC would also handle all appeals if the initial request for prior
    5 authorization was denied.       In addition, after a physician opted in, all future
    6 prescriptions for Subsys were directed to IRC, not a local pharmacy. Thus, through its
    7 handling of subsequent off-label Subsys prescriptions, Insys was able to assure
    8 physicians that not only would the initial Subsys prescription receive prior
    9 authorization, but so too would all subsequent prescriptions.
   10         54.   Using a variety of techniques, Insys was able to ensure that virtually
   11 every off-label Subsys prescription received prior authorization. For example,
   12 according to Relator 1, one way IRC staff obtained prior authorization was through
   13 their relationships with the individuals making prior authorization determinations for
   14 the insurers and Medicare or Medicaid.            Moreover, in instances where IRC’s
   15 connections were of no utility, IRC staff would, as a matter of course, say whatever
   16 was necessary to receive prior authorization. For example, IRC employees would
   17 regularly say things along the lines of “the patient can’t” or “has severe difficulty
   18 swallowing oral medications,” even though nothing resembling such a diagnosis was
   19 contained in the cover letter from the doctor’s office. Other examples of IRC staff
   20 falsifying patient conditions to obtain approval for Subsys include the following:
   21 “Patient is unable to digest oral medications”; “patient suffers from almost constant
   22 severe pain”; “patient’s pain limits his or her quality of life”; “patient is unable to
   23 participate in normal life (sit, stand, reach, walk, ride in cars) because of the pain.”
   24 All of the patient conditions just mentioned were scripted and completely falsified by
   25 IRC staff – at the direction of Insys senior management – for the sole purpose of
   26 fraudulently obtaining prior authorization for off-label Subsy prescriptions. See Ex. 3
   27 (sample letter with the foregoing already written and “fill in the blanks” spaces for
   28 patient name).

                                               - 21 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 23 of 38 Page ID #:42




    1         55.   In addition, during Relator 1’s training, he was brought to the IRC to
    2 observe how they obtain prior authorizations for sales representatives in the field.
    3 While visiting the IRC, Relator 1 heard Kim Fordham (“Fordham”) state that the
    4 patient she was attempting to obtain prior authorization for was having difficulty
    5 swallowing oral medications, despite the fact that this diagnosis was not contained in
    6 the cover letter from the prescribing physician. It was during this visit that Fordham
    7 informed Relator 1 that the IRC regularly obtains authorization through its numerous
    8 connections at various insurance companies, and if these connections do not result in
    9 obtaining prior authorization “they know what to say to get the scripts approved.”
   10         56.   The IRC was a resounding success. According to Relator 1, the IRC
   11 obtained prior authorization for Subsys 70% of the time on the first request – even
   12 though the majority of those prescriptions were for patients who did not have cancer.
   13 Moreover, Relator 1 does not know of a single instance where a prior authorization
   14 request was handled by the IRC and not eventually approved.
   15         57.   Insys trained its sales representatives to make the IRC’s success rate at
   16 obtaining prior authorization a major point of emphasis when promoting Subsys to
   17 physicians. For example, sales representatives were provided with sample questions
   18 and answers addressing physicians’ concerns regarding obtaining patient approval for
   19 off-label use. For example, the following is a scripted question and answer provided
   20 to Relator 1 during training: “Physician Question: ‘Isn’t fentanyl hard to get approved
   21 for a non-cancer use? I’ll just keep writing “short acting” opiates [like Oxy,
   22 Hydrocodone, Hydromorphone] instead.’ Sales Representative Response: ‘We take
   23 care of that through our IRC. We can get prior authorizations for you and take care of
   24 everything. We have a 70% pull through rate [approval rate] the first time.’”
   25         58.   In addition to the above, Insys guaranteed, and touted that guarantee, to
   26 physicians that, if for some reason prior authorization could not be immediately
   27 obtained, Insys would provide the patient with free Subsys until authorization could
   28

                                               - 22 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 24 of 38 Page ID #:43




    1 be obtained.12         This was no small perk: a thirty-day supply of Subsys cost
    2 approximately $10,000.
    3           59.     The second benefit the IRC provided to physicians writing off-label
    4 prescriptions for Subsys was that the IRC, rather than the physician, undertakes a
    5 majority of the administrative tasks associated with obtaining prior authorizations for
    6 Subsys prescriptions.           In addition to the uncertainty of whether the off-label
    7 prescriptions will receive prior authorization, physicians might also refrain from
    8 prescribing Subsys off-label because of the exhaustive administrative requirements
    9 associated with obtaining prior authorization. According to Relator 1’s training
   10 materials, the administrative responsibilities associated with obtaining patient
   11 approvals can be very time consuming.13 Thus, physicians might be deterred from
   12 prescribing Subsys to patients without cancer because of the hassle associated with
   13 obtaining prior authorizations.               Therefore, by handling the administrative
   14 responsibilities, Insys has removed yet another possible roadblock to a physician’s
   15 decision to prescribe Subsys to patients without cancer.
   16           60.     The services provided to physicians by the IRC and the guarantee to
   17 provide free Subsys if authorization cannot be obtained further demonstrate that Insys
   18 intended to and did in fact promote Subsys for off-label use. First, the IRC’s ability to
   19 obtain prior authorization in virtually every instance and Insys’ guarantee would
   20 provide no value to physicians prescribing Subsys for its indicated use. Recognizing
   21 that the uncertainty regarding a patient’s ability to access Subsys could be a major
   22 deterrent to physicians considering prescribing Subsys off-label, Insys offered the
   23 IRC’s expertise in obtaining prior authorization and guarantee of free product if
   24 authorization could not be obtained. To a physician prescribing Subsys for its
   25 indicated use, however, these services would be of little or no value, and therefore
   26   12
           Attached as Ex. 4 is a copy of Relator 1’s training material discussing Insys’ guarantee to
        provide free Subsys if prior authorization could not be obtained.
   27
        13
             Attached as Ex. 5 is a copy of Relator 1’s training material discussing the foregoing.
   28

                                                       - 23 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 25 of 38 Page ID #:44




    1 unnecessary. In such an instance, the ability to obtain prior authorization for Subsys
    2 prescriptions (or to deal with administrative appeals) would not be a concern to a
    3 physician prescribing Subsys for its indicated use because Medicare/Medicaid would
    4 not deny prescriptions written for opioid-tolerant patients who had cancer.
    5           61.     Not surprisingly, the IRC was very popular with physicians – so
    6 successful that virtually all of the physicians writing off-label Subsys prescriptions
    7 utilized the IRC. Indeed, according to Relator 1, approximately 80-90% of patients
    8 prescribed Subys did not have cancer, and virtually all of those patients obtained prior
    9 authorization through the IRC because without IRC’s expertise prior authorization
   10 would not have been possible. In fact, Relator 1 is aware of just one physician who
   11 was able to obtain prior authorization for Subsys without the use of the IRC, and that
   12 was for a patient who had cancer.
   13                          c.      Insys Provided Physicians With A “Canned”
                                       Letter of Medical Necessity to Encourage
   14                                  Physicians to Prescribe Subsys Off-Label
   15           62.     To provide prescribing physicians with further assurance in its ability to
   16 receive prior authorization for off-label Subsys prescriptions, Insys provided its sales
   17 representatives and other staff with a standardized “canned” LMN to be distributed to
   18 prescribing physicians.14 As stated above, when an insurer or Medicare/Medicaid
   19 requires prior authorization before it will pay for a prescription drug, the prescribing
   20 physician typically submits an LMN outlining why the drug is medically necessary for
   21 the patient’s treatment. Obviously, these letters must be patient specific, as the letter
   22 is meant to establish that a particular drug is medically necessary for a particular
   23 patient.
   24           63.     According to Relator 1, the form LMN contained the “magic language”
   25 to obtain patient approvals. The form LMN is not patient specific, and requires only
   26
        14
             In June 2013, Insys emailed a copy of the form LMN to all sales representatives and associated
   27 personnel. Attached as Ex. 6 is the email distributed by Insys. The LMN is previously identified at
      Ex. 3.
   28

                                                      - 24 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 26 of 38 Page ID #:45




    1 that physicians fill in the blanks and submit the form.15 In fact, the falsified patient
    2 conditions mentioned above which IRC staff used to obtain prior authorization were
    3 also included in Insys’ form LMN.
    4           64.    As with the use of the IRC, Defendants’ fraudulent intent is demonstrated
    5 by the “canned” LMN because such a letter would be unnecessary if Subsys was
    6 written for its indicated use. A physician seeking prior authorization for Subsys’
    7 approved use would not need “magic language” – he or she would only need to write
    8 the actual patient symptoms, mainly that the patient was opioid-tolerant and has
    9 breakthrough pain caused by cancer.
   10                          d.     Defendants Increase the Health Risk to Patients
                                      by Promoting Subsys for Off-Label Use
   11
                65.    Defendants’ promotion of Subsys for off-label use increases the health
   12
        risk to patients receiving these prescriptions. Fentanyl, the opioid analgesic in Subsys,
   13
        is a very powerful pain management medication (which is why it is only indicated for
   14
        use on cancer patients). Indeed, according to the Department of Justice, “Fentanyl is
   15
        100 times more potent than morphine as an analgesic.”16 Fentanly’s strength has been
   16
        demonstrated recently by the increasing number of drug overdose deaths involving
   17
        Fentanyl.     In addition, according to the U.S. Center for Disease Control and
   18
        Prevention, the people “who are most at risk for overdose” include those people “who
   19
        take high daily dosages of prescription painkillers[.]”17
   20
                66.    Prescribing very strong pain medication can also lead to opioid
   21
   22   15
          For example, one sentence in the form LMN reads “While I am aware of the risks associated
      with this class of medications, SUBSYS is necessary for (said patient) to effectively treat the onset
   23 and duration of their breakthrough pain episodes.” The form LMN also includes other patient
      specific references, such as “[i]njectable pain relievers are not an option for this patient.” Indeed,
   24 providing such a letter is even contrary to Subsys’ website’s prior authorization support page, which
      states “Healthcare providers are responsible for providing any medical necessity justifications.”
   25
        16
             Drug & Chemical Evaluation Section, Department of Justice, Drug Enforcement Administration,
   26 available at http://www.deadiversion.usdoj.gov/drug_chem_info/fentanyl.pdf.
   27 17 Policy Impact: Prescription Painkiller Overdoses, Centers For Disease Control and Prevention,
        available at http://www.cdc.gov/homeandrecreationalsafety/rxbrief/.
   28

                                                      - 25 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 27 of 38 Page ID #:46




    1 dependence and addiction. Opioid dependence can occur when an individual’s pain
    2 management treatment involves prescription opioid pain medication. As a result of
    3 taking this medication, an individual can become physically dependent on opioids – if
    4 the drug is stopped, they will suffer from withdraw syndrome. Moreover, it is well
    5 documented that opioid addiction is a serious problem. These powerful drugs can
    6 create a feeling of euphoria, cause physical dependence and, in some people lead to
    7 addiction. The chance that a patient will become physically dependent on opioids or
    8 addicted is increased when the patient is prescribed stronger pain medication than is
    9 medically necessary.
   10        67.    Insys’ promotion of Subsys for off-label purposes has resulted in an
   11 increased risk of overdose and opioid dependence and/or addiction in patients
   12 receiving the drug. Due to Insys’ off-label marketing scheme for Subsys, patients
   13 prescribed the drug are receiving stronger pain medication than is medically necessary
   14 – patients without cancer are receiving pain medication for use in cancer patients. As
   15 a result, these patients are at an increased risk of overdosing, and becoming opiod
   16 dependent and/or addicted. Insys has created this increased risk to Subsys users, in
   17 the name of profit, by encouraging physicians to prescribe Subsys when such a
   18 powerful drug is not medically necessary to treat patients’ conditions.
   19                     e.     Claims Submitted to Government Health Care
                                 Programs for Off-Label Uses Were Not
   20                            Covered
   21        68.    The claims submitted to Government health care programs for off-label
   22 Subsys prescriptions were false because the prescriptions were not properly covered.
   23 As a precondition to payment, healthcare providers are required to verify on Form
   24 HCFA-1500 that the prescriptions and services they provide are “medically indicated
   25 and necessary for the health of the patient.” As shown, above, the prescriptions that
   26 Defendants were inducing physicians to write were neither medically indicated nor
   27 necessary. Rather, they were expressly for off-label and improper uses, and violated
   28 the FCA.

                                              - 26 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 28 of 38 Page ID #:47




    1         69.   In the Medicaid Program, States will not receive FFP if a drug, as
    2 prescribed, is not for a medically acceptable use. FFP is available to States only for
    3 “covered outpatient drugs.” 42 U.S.C. §1396b(i)(10). As a result, States’ own laws
    4 and pharmacy regulations require the drugs to be used for a medically accepted use,
    5 and therefore fit the definition of a covered outpatient drug.
    6         70.   “Covered outpatient drugs” do not include drugs that are “used for a
    7 medical indication which is not a medically accepted indication.” 42 U.S.C. §1396r-
    8 8(k)(3). A medically accepted indication is defined as a use “which is approved under
    9 the [FDCA]” or which is “supported by one or more citations included or approved for
   10 inclusion” in specified drug compendia. 42 U.S.C. §1396r-8(k)(6). 42 U.S.C. §1396r-
   11 8(g)(1)(B)(I) identifies the compendia to be consulted: American Hospital Formulary
   12 Service Drug Information; United States Pharmaeopeia-Drug Information; and the
   13 DRUGDEX information System (collectively, the “Drug Compendia”).
   14         71.   Medicare Part A generally pays the inpatient services for eligible
   15 beneficiaries in hospital, hospice and skilled nursing facilities, as well as some home
   16 healthcare services. 42 U.S.C. §§1395e-1395i-5. Prescription drugs are covered
   17 under Medicare Part A only if they are administered on an inpatient basis in a hospital
   18 or similar setting, and are “reasonable and necessary.”
   19         72.   Medicare Part B pays for some types of prescription drugs that are not
   20 administered in a hospital setting, and that are “reasonable and necessary.” 42 U.S.C.
   21 §§1395k(a), 1395x(s)(2); 42 C.F.R. §405.517.          These typically include drugs
   22 administered by a physician or other provider in an outpatient setting, some orally
   23 administered anticancer drugs and antiemetics (drugs which control the side effects
   24 caused by chemotherapy), and drugs administered through durable medical equipment
   25 such as a nebulizer. 42 U.S.C. §§1395k(a), 1395x(s)(2); 42 C.F.R. §405.517.
   26         73.   The Medicare program Part D drug benefit covers all drugs that are
   27 considered “covered outpatient drugs” under 42 U.S.C. §1396r-8(k).
   28         74.   The off-label uses alleged herein are not supported by “clinical research

                                               - 27 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 29 of 38 Page ID #:48




    1 that appears in peer-reviewed medical literature,” and could not, under any
    2 circumstances, be determined to be “medically accepted as safe and effective” or
    3 “reasonable and necessary” for such uses. Claims for such off-label uses were
    4 therefore not covered by Medicare either.
    5         75.    Insys was aware that the natural and probable consequence of its
    6 promotion of off-label uses of Subsys was that health care providers would submit
    7 claims for payment to Government Healthcare Programs for the off-label use.
    8 Notwithstanding this knowledge, Insys vigorously promoted these off-label uses.
    9 Insys was also aware that its illegal promotion did in fact result in false claims to these
   10 and other Government payors for the off-label uses. Moreover, Insys was aware that
   11 its promotion activities was a substantial factor in producing the claims.
   12         76.    When pharmacies, physicians and other healthcare providers submitted
   13 claims based upon a physician’s prescription for Subsys for off-label uses, the claims
   14 they submitted were false because such off-label uses were not supported by a citation
   15 in one of the Drug Compendia specified by 42 U.S.C. §1396r-8(g)(1)(B)(1)
   16 (Medicaid), not supported by “clinical research that appears in peer-reviewed medical
   17 literature,” and could not, under any circumstances, be determined to he “medically
   18 accepted generally as safe and effective” or “reasonable and necessary” (Medicare).
   19         77.    False claims to these Government health care programs for off-label
   20 prescribing was the direct and proximate result of unlawful off-label marketing efforts
   21 by Insys. Therefore, Insys caused the submission of these claims. Insys caused the
   22 submission of false claims, since healthcare providers submitted Pharmacy Claim
   23 Forms and CMS 1500 Form to Government Healthcare Programs, and the States
   24 submitted Form CMS-64 to the Federal Government, all claiming reimbursement for
   25 Subsys for such off-label uses.
   26                2.     Insys Illegally Paid Kickbacks in Exchange for
                            Promotion and Prescription of Subsys
   27
              78.    In an attempt to increase its market share, Insys also paid illegal
   28

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Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 30 of 38 Page ID #:49




    1 kickbacks to physicians to induce them to write Subsys prescriptions that were
    2 reimbursed through federal health care programs. As a front for its kickback
    3 arrangement, Insys conducted speaker programs that were actually vehicles for paying
    4 kickbacks to physicians under the guise of honoraria. These financial benefits were
    5 offered with the explicit understanding that in exchange, the physicians would
    6 preferentially prescribe or indicate the use of Subsys to its patients.
    7         79.   Through Insys’ speaker program, physician speakers were paid to speak
    8 at local and national events to educate other doctors and health care professionals
    9 about Subsys.      In practice, however, Insys’ speaker program exists to induce
   10 physicians to both begin prescribing Subsys and to increase the quantity of Subsys
   11 prescriptions they write.
   12         80.   According to Relator 1, the criteria used to determine the amount of
   13 compensation a physician received for speaking at events depended solely upon the
   14 volume of Subsys prescriptions he or she had written. To induce the foregoing, Insys
   15 created two tiers of compensation for physicians hired as speakers. Whether a
   16 physician is compensated at the higher tier depended on how many Subsys
   17 prescriptions he or she has written. The highest (or first level) tier of compensation
   18 was for physicians deemed “national speakers.” National speakers would speak at
   19 conferences and meetings across the country. Insys selected its “top writers” of
   20 Subsys prescriptions for national speaker positions. The lower (or second level) tier
   21 of compensation is for physicians deemed “local speakers.” Local speaker positions
   22 were provided to physicians writing a significant amount of Subsys prescriptions, but
   23 not as many as national speakers.
   24         81.   The qualifications of the physicians hired by Insys as speakers
   25 demonstrate that its speaker program was nothing more than a mechanism to facilitate
   26 kickbacks in return for writing Subsys prescriptions. As Subsys’ indicated use is for
   27 cancer patients, it would be reasonable to expect that the physicians Insys selected to
   28 educate and inform other physicians and health care professionals about the drug

                                               - 29 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 31 of 38 Page ID #:50




    1 would be oncologists, or otherwise have at least some level of expertise in dealing
    2 with cancer patients. And yet, Insys did not condition its selection of speakers on
    3 whether they had a pedigree that included cancer treatment. Instead, Insys focused
    4 solely on those physicians who wrote the most prescriptions for Subsys.
    5         82.   In addition, Insys passed over physicians far more qualified than the
    6 physicians selected for speaker positions. For example, physicians who did not
    7 prescribe as much Subsys would not be selected as speakers, even though they had the
    8 same (or greater) qualifications than those selected.
    9         83.   Insys promoted the fruits of being selected as speakers at its conferences
   10 through its sales representatives. As part of their training, sales representatives were
   11 provided with different physician “personality” types that they would encounter when
   12 promoting Subsys. Each personality type was given a corresponding color. Then,
   13 using the different physician personality types, Insys trained its sales representatives
   14 to identify which physician personality type to offer speaker positions to and which
   15 personality types to avoid. For example, physicians categorized as “Yellow” were
   16 described as an “amiable doctor,” but not the best customer. Sales representatives
   17 were instructed not to offer speaker positions to Yellow physicians, regardless of their
   18 personality or qualifications (the two main reasons to exclude a physician from a
   19 potential speaker position). “Red” physicians were described “fast moving.” Insys
   20 trained its sales representatives to show them headlines and avoid wasting their time.
   21 Sales representatives were further instructed that Red physicians presented a business
   22 opportunity and therefore these physicians were to be offered speaker positions.
   23 There is no explanation for Insys’ method of identifying physicians for speaker
   24 positions based on personality type (and not their actual personality or credentials)
   25 other than that Insys, based on its experience in the drug manufacturing and promotion
   26 industry, targeted these physicians because it believed they were the most likely to
   27 write the most Subsys prescriptions in return for speaker positions.
   28         84.   Insys also used the speaker program to encourage physicians currently

                                               - 30 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 32 of 38 Page ID #:51




    1 writing Subsys prescriptions to increase the number of Subsys prescriptions they were
    2 writing. The speaker positions offered by Insys were highly coveted. And it was no
    3 secret that the key to landing these speaker positions was to increase the amount of
    4 Subsys prescriptions written. Thus, it was explicitly understood by physicians that
    5 these speaker positions were given to physicians in exchange for writing a significant
    6 amount of Subsys prescriptions. For example, according to Relator 1, he was once
    7 approached by Dr. Manish Singh, a Neurology and Pain Management physician
    8 prescribing Subsys to his patients. Dr. Singh stated that “I want more dinners and to
    9 do speaking programs.” Relator 1 relayed Dr. Singh’s request to his RSM, who said
   10 “no” to Dr. Singh’s request because “he was not writing enough prescriptions [for
   11 Subsys].”
   12           85.     Both the pharmaceutical industry and Insys have recognized the potential
   13 for abuse of “educational” speaker programs. Contained in Insys’ training module for
   14 sales representatives is a section entitled “Compliance.” This section contains the
   15 Pharmaceutical Research and Manufacturers of America’s (“PhRMA”)18 Code on
   16 Interactions with Health care Professionals (the “Code”) issued in 2004 and reissued
   17 in 2009.19 Within the PhRMA Code (and therefore within Insys training module) is a
   18 section entitled “Speaker Programs and Speaker Training Meetings.” This section
   19 provides, in part, that:
   20           Healthcare professionals participate in company-sponsored speaker
   21           programs in order to help educate and inform other healthcare
   22
   23
        18
             Insys, along with other major pharmaceutical companies, is a member of PhRMA, a signatory to
   24 the Code and has announced its intention to abide by the Code. The PhRMA Code provides that
      “[i]nteractions” between pharmaceutical company employees and health care professionals should
   25 be focused on informing healthcare professionals about products, providing scientific and
        educational information, and supporting medical education.” In addition, Insys has expressly
   26 certified that it is in compliance with the Code.
   27 19 The PhRMA Code is available                      at:   http://www.phrma.org/sites/default/files/
        pdf/phrma_marketing_code_2008.pdf.
   28

                                                      - 31 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 33 of 38 Page ID #:52




    1        professionals about the benefits, risks and appropriate uses of company
    2        medicines.
    3        Any healthcare professional engaged by a company to participate in such
    4        external promotional programs on behalf of the company will be deemed
    5        a speaker for purposes of this Code, and the requirements of Section 7
    6        apply to company interactions with that healthcare professional in his or
    7        her capacity as a speaker. Company decisions regarding the selection or
    8        retention of healthcare professionals as speakers should be made based
    9        on defined criteria such as general medical expertise and reputation,
   10        knowledge and experience regarding a particular therapeutic area, and
   11        communications skills. Companies should continue to ensure that
   12        speaking arrangements are neither inducements nor rewards for
   13        prescribing a particular medicine or course of treatment.
   14        86.    Despite Insys’ recognition that its speaker program could be used to
   15 influence the decision making of physicians, Insys disregarded the illegality of such
   16 practices.
   17                                       COUNT I
   18                        (False Claims Act 31 U.S.C. §3729(a))
   19        87.    Relators repeat each allegation in each of the proceeding paragraphs of
   20 this Complaint with the same force and effect as if set forth herein.
   21        88.    As described above, Defendants have submitted and/or caused to be
   22 submitted false or fraudulent claims to Medicare by engaging in an unlawful kickback
   23 scheme and off-label marketing in connection with its drug Subsys that was intended
   24 to and did in fact induce physicians to improperly prescribe Subsys.               These
   25 prescriptions were reimbursed by federal health care programs, including Medicare
   26 and Medicaid, and therefore were issued in violation of both the Anti-Kickback
   27 Statute and the FCA. As a result, the federal Government has been defrauded and
   28 suffered a substantial loss.

                                              - 32 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 34 of 38 Page ID #:53




    1          89.   By virtue of the acts described above, Defendants have violated:
    2                (1)    31 U.S.C. §3729(a)(1)(A) by knowingly presenting, or
    3          causing to be presented, false or fraudulent claims for payment or
    4          approval; and/or
    5                (2)    31 U.S.C. §3729(a)(1)(B) by knowingly making, using, or
    6          causing to be made or used, a false record or statement material to a false
    7          or fraudulent claim; and/or
    8                (3)    31 U.S.C. §3729(a)(1)(G) by knowingly making, using, or
    9          causing to be made or used, a false record or statement material to an
   10          obligation to pay or transit money or property to the Government, or
   11          knowingly concealing or knowingly and improperly avoiding or
   12          decreasing an obligation to pay or transmit money or property to the
   13          Government.
   14          90.   To the extent any of the conduct alleged herein occurred on or before
   15 May 20, 2009, Relators reallege that Defendants knowingly violated 31 U.S.C.
   16 §3729(a)(1); 31 U.S.C. §3729(a)(2); and 31 U.S.C. §3729(a)(7) prior to amendment,
   17 by engaging in the above-described conduct.
   18          91.   By reason of the foregoing, the United States has suffered actual damages
   19 and is entitle to recover treble damages plus a civil monetary penalty for each false
   20 claim.
   21                               JURY TRIAL DEMANDED
   22          Relators demand a jury trial.
   23                                 PRAYER FOR RELIEF
   24          WHEREFORE, Relators pray that the Court enter judgment against Defendants
   25 as follows:
   26          A.    that the United States be awarded damages in the amount of three times
   27 the damages sustained by the United States because of the false claims alleged within
   28 this Complaint, as the Federal False Claims Act, 31 U.S.C. §§3729 et seq. provides;

                                                 - 33 -
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 35 of 38 Page ID #:54
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 36 of 38 Page ID #:55
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 37 of 38 Page ID #:56
Case 2:14-cv-03488-JLS-AJW Document 1 Filed 05/06/14 Page 38 of 38 Page ID #:57
